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March 17, 2021                                                                  smolo@mololamken.com

BY CM/ECF

Hon. Louis L. Stanton
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

   Re:      Dresser-Rand Company v. Petróleos de Venezuela, S.A., et al.,
            No. 19 Civ. 2689 (S.D.N.Y.): Pending Letter Motion for Pre-Motion Conference

Dear Judge Stanton:

      We represent Red Tree Investments, LLC (“Red Tree”). We write to respectfully follow
up on Red Tree’s letter motion seeking to intervene in this case for the limited purpose of
modifying the protective order and permitting Red Tree to access certain discovery taken by
PDVSA from non-party DBTCA. See Dkt. 104.

        The parties in this action have since stated that they do not object to the relevant discovery
that Red Tree seeks. On January 27, 2021, Defendants Petróleos de Venezuela, S.A. and PDVSA
Petróleo, S.A. responded to Red Tree’s motion and stated that “they are agreeable to Red Tree’s
requested modification of the protective order.” See Dkt. 107 at 1. And on January 28, 2021,
Plaintiff Dresser-Rand likewise stated in a letter response that

         [t]o the extent Red Tree’s application is deemed permissible by the Court, and
         subject to the consent of Defendants and Deutsche Bank, D-R does not object to
         Red Tree’s requested modification of the Protective Order to allow Red Tree to
         access the policies and procedures produced by Deutsche Bank in this action. D-R,
         however, will not consent to Red Tree’s access to confidential transaction
         documents involving D-R, as there appears to be no legitimate basis for Red Tree
         to have access to such documents.

See Dkt. 108 at 1.

        Red Tree wishes to clarify that it does not seek the discovery to which Dresser-Rand
objected (i.e., confidential transaction documents involving Dresser-Rand). DBTCA, which was
copied in Defendants’ and Dresser-Rand’s response, has taken no position on Red Tree’s letter
motion. Accordingly, the discovery that Red Tree seeks is unopposed. Thus, the matter is ripe for
the entry of an order granting Red Tree’s unopposed motion.
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       Should the Court have any further questions regarding the pre-motion letter, Red Tree is
available to discuss with the Court in a status conference. We thank the Court for its time, attention,
and consideration.



                                                   Respectfully submitted,

                                                   /s/ Steven F. Molo
                                                   Steven F. Molo

                                                   Counsel for Red Tree Investments, LLC


cc: All counsel of record in No. 19 Civ. 2689 via CM/ECF
